     Case 1:23-cr-00099-LJV-JJM                  Document 315           Filed 11/29/24         Page 1 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                 v.                                                             23-CR-99-LJV

SCOTT BARNES,

                                   Defendant.

                                                  ADVISORY

        THE UNITED STATES OF AMERICA, by and through its attorneys, Trini E. Ross,

United States Attorney for the Western District of New York, Casey L. Chalbeck, Assistant United

States Attorney, of counsel, files the following advisory regarding whether defendant Scott Barnes

has a trial right to review the contents of the search warrant affidavit for 417 Northumberland

Avenue, Buffalo, New York (“417 Northumberland”).

        The undersigned counsel, as well as Assistant United States Attorney Joseph M. Tripi, have

reviewed the 346-page search warrant packet related to the search of 417 Northumberland and

have determined that the government is not obligated to disclose the affidavit pursuant to

Brady/Giglio or 18 U.S.C. § 3500 for the following three reasons: 1

        First, there is no Brady material in the search warrant affidavit related to Mr. Barnes’s two

firearm charges. That is, there is no material in the affidavit that makes it less likely that Mr.




         1
                  On Friday, November 22, 2024, the Court ordered the government to determine whether Mr.
Barnes’s had a right to review the search warrant affidavit to effectively prepare for trial. The undersigned counsel
understood the Court to be directing the government to review whether the affidavit must be disclosed pursuant to
Brady, Giglio, and/or 18 U.S.C. § 3500, an understanding that counsel conveyed, without correction, to Mr. Barnes’s
attorney on Monday, November 25, 2024.
     Case 1:23-cr-00099-LJV-JJM                 Document 315            Filed 11/29/24         Page 2 of 3




Barnes’s was a felon in possession of a stolen firearm, as charged in the Second Superseding

Indictment. 2 See United States v. Hunter, 32 F. 4th 22, 30–31 (2d Cir. 2022).

        Second, there is no Giglio material in the search warrant affidavit relevant to Mr. Barnes’s

case because neither           the affiant-agent        nor any       source of information/confidential

source/cooperating witness will be testifying at Mr. Barnes’s trial. In other words, the search

warrant affidavit does not contain any statements from any person who might be testifying in Mr.

Barnes’s trial and, therefore, does not contain any impeachment evidence that may be used by the

defense. See United States v. Coppa, 267 F.3d 132, 140 (2d Cir. 2001).

        Third, and relatedly, because neither the affiant-agent nor any source of

information/confidential source/cooperating witness will be testifying at Mr. Barnes’s trial, 18

U.S.C. § 3500 does not require the affidavit’s disclosure.

        Finally, please be advised that on November 25, 2024, the government contacted Mr.

Barnes’s counsel, conveying the parameters of a proposed plea pursuant to Federal Rule of

Criminal Procedure 11(c)(1)(C) of 32–36 months for the felon-in-possession offense, inviting

counteroffers, and delineating the terms of the offer’s expiration. For scheduling purposes, please

be further advised that the government will request a Frye/Lafler colloquy should Mr. Barnes reject

the proposed plea.

        DATED: Buffalo, New York, November 29, 2024

                                                     TRINI E. ROSS
                                                     United States Attorney


                                                     BY:      s/ CASEY L. CHALBECK
                                                              Assistant United States Attorney
                                                              United States Attorney’s Office

        2
                  There is no discussion in the entire search warrant affidavit of either Mr. Barnes or the specific
stolen firearm recovered from the room Mr. Barnes occupied on the day the FBI executed the search warrant.

                                                         2
Case 1:23-cr-00099-LJV-JJM   Document 315    Filed 11/29/24    Page 3 of 3




                                      Western District of New York
                                      138 Delaware Avenue
                                      Buffalo, New York 14202
                                      (716) 843-5881
                                      Casey.Chalbeck@usdoj.gov




                                  3
